 Case 2:18-cv-10743-JAK-SK Document 59 Filed 11/08/19 Page 1 of 4 Page ID #:416



1    Mark S. Lee (SBN 94103)
     mark.lee@rimonlaw.com
2
     RIMON P.C.
3    2029 Century Park East, Suite 400N
     Los Angeles, California 90067
4
     Telephone: (310) 361-5776
5
     Bert H. Deixler (SBN 70614)
6    bdeixler@kbkfirm.com
7    Sara E. Moses (SBN 291491)
     smoses@kbkfirm.com
8    Patrick J. Somers (SBN 318766)
9    psomers@kbkfirm.com
     KENDALL BRILL & KELLY LLP
10   10100 Santa Monica Boulevard, Suite 1725
11   Los Angeles, California 90067
     Telephone: (310) 556-2700
12   Facsimile: (310) 556-2705
13
     Attorneys for Plaintiffs NIRVANA, L.L.C.
14
     Michael J. Zinna (pro hac vice)
15   mzinna@kelleydrye.com
16   Whitney M. Smith (pro hac vice)
     wsmith@kelleydrye.com
17   KELLEY DRYE & WARREN LLP
18   101 Park Avenue
     New York, New York 10178
19   Telephone: (212) 808-7800
20   Facsimile: (212) 808-7897
21   Attorneys for Defendants
22   MARC JACOBS INTERNATIONAL LLC, SAKS
     INCORPORATED, d/b/a SAKS FIFTH AVENUE,
23   AND NEIMAN MARCUS GROUP LIMITED, LLC
24
25
26
27
28

                       JOINT REPORT ON SETTLEMENT CONFERENCE
 Case 2:18-cv-10743-JAK-SK Document 59 Filed 11/08/19 Page 2 of 4 Page ID #:417



1                              UNITED STATES DISTRICT COURT

2                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
3
     NIRVANA, L.L.C., a Washington                Case No.: 2:18-cv-10743
4    Limited Liability Company,
                                                  JOINT REPORT ON
5                                                 SETTLEMENT CONFERENCE
                  Plaintiff,
6
           v.                                     Honorable John A. Kronstadt
7
     MARC JACOBS INTERNATIONAL                    Magistrate Judge Steve Kim
8
     L.L.C., a Delaware Limited Liability
9    Company; SAKS INCORPORATED,
10   d/b/a SAKS FIFTH AVENUE, a
     Tennessee Corporation; NEIMAN
11   MARCUS GROUP LIMITED, L.LC., a
12   Delaware Limited Liability Company;
     and Does 1 through 10,
13
14                Defendants.
15
16         Pursuant to an Order of this Court, the parties conducted a settlement conference
17   with Magistrate Judge Steve Kim on October 16, 2019 to try to resolve their
18   differences. They did not succeed in settling the action .
19
20
21
22
23
24
25
26
27
28
                                                 2
                          JOINT REPORT ON SETTLEMENT CONFERENCE
 Case 2:18-cv-10743-JAK-SK Document 59 Filed 11/08/19 Page 3 of 4 Page ID #:418



1
     DATED: November 8, 2019          RIMON, P.C.
2
3
                                      By: /s/ Mark S. Lee
4
                                          Mark S. Lee (SBN: 94103)
5                                         mark.lee@rimonlaw.com
6                                         RIMON P.C.
                                          2029 Century Park East, Suite 400N
7                                         Los Angeles, CA 90067
8                                         Telephone/Facsimile: 310.375.3811

9                                         Kendra L. Orr (SBN: 256729)
                                          Kendra.orr@rimonlaw.com
10
                                          RIMON P.C.
11                                        One Embarcadero Center, Suite 400
                                          San Francisco, CA 94111
12
                                          Telephone/Facs2imile: 415.683.5472
13
                                          Bert H. Deixler (SBN 70614)
14                                        bdeixler@kbkfirm.com
15                                        Sara E. Moses (SBN 291491)
                                          smoses@kbkfirm.com
16                                        Patrick J. Somers (SBN 318766)
17                                        psomers@kbkfirm.com
                                          KENDALL BRILL & KELLY LLP
18                                        10100 Santa Monica Boulevard, Suite 1725
19                                        Los Angeles, California 90067
                                          Telephone: (310) 556-2700
20                                        Facsimile: (310) 556-2705
21
                                          Attorneys for Plaintiffs
22                                        NIRVANA, L.L.C.
23
24
25
26
27
28
                                           3
                      JOINT REPORT ON SETTLEMENT CONFERENCE
 Case 2:18-cv-10743-JAK-SK Document 59 Filed 11/08/19 Page 4 of 4 Page ID #:419



1
     DATED: November 8, 2019          KELLEY DRYE & WARREN LLP
2
3
                                      By: /s/ Michael J. Zinna
4
                                          Michael J. Zinna (pro hac vice)
5                                         mzinna@kelleydrye.com
6                                         Whitney M. Smith (pro hac vice)
                                          wsmith@kelleydrye.com
7                                         KELLEY DRYE & WARREN LLP
8                                         101 Park Avenue
                                          New York, New York 10178
9                                         Telephone: (212) 808-7800
10                                        Facsimile: (212) 808-7897

11                                        Andrew W. Homer (SBN 259852)
12                                        ahomer@kelleydrye.com
                                          Tahir L. Boykins (SBN 323441)
13                                        tboykins@kelleydrye.com
14                                        KELLEY DRYE & WARREN LLP
                                          10100 Santa Monica Boulevard, 23rd Floor
15                                        Los Angeles, California 90067
16                                        Telephone: (310) 712-6100
                                          Facsimile: (310) 712-6199
17
                                          Attorneys for Defendants
18
                                          MARC JACOBS INTERNATIONAL
19                                        L.L.C., SAKS INCORPORATED, d/b/a
                                          SAKS FIFTH AVENUE, AND NEIMAN
20
                                          MARCUS GROUP LIMITED, L.L.C.
21
22
23
24
25
26
27
28
                                           4
                      JOINT REPORT ON SETTLEMENT CONFERENCE
